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                       UNITED STATES COURT OF APPEALS                            FILED
                               FOR THE NINTH CIRCUIT                             SEP 13 2023
                                                                              MOLLY C. DWYER, CLERK
                                                                               U.S. COURT OF APPEALS
In re: CAPACITORS ANTITRUST                              No.   23-15940
LITIGATION (NO.III),
                                                         D.C. Nos.   3:17-cv-07046-JD
----------------------------------------------------                 3:17-md-02801-JD
                                                         Northern District of California,
AVNET, INC.,                                             San Francisco

                  Plaintiff-Appellee,
                                                         ORDER
 v.

NIPPON CHEMI-CON CORPORATION;
UNITED CHEMI-CON, INC.,

                  Defendants-Appellants.



      Pursuant to the parties’ stipulated motion (Docket Entry No. 8), this appeal

is voluntarily dismissed. Fed. R. App. P. 42(b). The parties shall bear their own

costs and attorneys’ fees on appeal.

      A copy of this order shall serve as and for the mandate of this court.



                                                       FOR THE COURT:


                                                       By: Robert Kaiser
                                                       Circuit Mediator
